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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK
_____________________________________

KEITH BALKMAN,

                       Petitioner,                           ORDER
                                                             No. 06-CV-6120(VEB)
       -vs-

POOLE, SUPERINTENDENT,

                  Respondent.
_____________________________________


       On July 22, 2010, this Court filed a Decision and Order (Docket #10) dismissing

petitioner Keith Balkman’s petition for habeas relief under 28 U.S.C. sec. 2254 and denying a

certificate of appealability. Judgment was entered on July 23, 2010. (Docket #11).

       On July 26, 2010, the Court received from Balkman a motion to strike respondent’s

Answer as untimely filed. (Docket #12). Balkman alleges in Docket #11 and Docket #12 that he

did not receive respondent’s Answer until June 22, 2010, about a month before the Court issued

its Decision and Order. He states in Docket #12 that he has attached copies of a document

acknowledging receipt of respondent’s answer on June 22, 2010; however, no exhibits were

attached to this pleading. Balkman did attach several documents to Docket #11, his motion to

strike respondent’s answer. In particular, he attached a copy of a mail log entry in which he

signed for an item of legal mail on June 22, 2010; the “sender” indicated on the log entry is “U.S.

District Court.” (Docket #11). Checking this against the Docket Sheet for Balkman’s case, it does

not appear that anything was mailed from the District Court to Balkman around this time. As

noted above, the Court’s Decision and Order dismissing the habeas petition was not filed until


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July 22, 2010. It is possible that the identity of the “sender”was mistakenly noted on the mail log,

and it was actually the respondent’s attorney’s office who mailed the item of mail Balkman

claims he received on June 22, 2010.

       In reviewing the Docket Sheet for this case, the Court notes that respondent’s Answer and

Memorandum of Law (Docket #6-1) was timely filed with this Court on May 31, 2006, along

with a Certificate of Service upon Balkman (Docket #6-2). However, it appears that respondent’s

attorney served a copy of the Answer upon Balkman at the wrong address; the Certificate of

Service indicates that it was sent to Upstate C.F., while Balkman was in fact housed at Five

Points C.F. at the time he filed the Petition. Compare Docket #6-2 with Docket #1. It is

regrettable that Upstate C.F. apparently did not forward a copy of the pleadings to Balkman at his

new address. However, there is no reason to strike respondent’s Answer because it was timely

filed with the Court.

       Turning next to Balkman’s subsequently filed “Motion for Enlargement of Time to

Respond to Order” (Docket #13), this Court has construed it as a motion for an enlargement of

time, pursuant to Fed. R. App. P. 4(a)(5), to file a notice of appeal. Pursuant to the prisoner

mailbox rule, this motion is deemed filed on the date Balkman turned the document over to

prison officials for mailing–here, August 17, 2010.

       Fed. R. App. P. 4(a)(5) provides that in a civil case, such as the instant Section 2254

habeas petition, a motion for an extension of time to file a notice of appeal must be filed no later

than 30 days after the expiration of the 30-day period in which to file a notice of appeal. Fed. R.

App. P. 4(a)(1)(A), (5)(A)(i). The district court “lacks [the subject matter] jurisdiction to grant

any extension motion that is not filed within Rule 4(a)(5)’s 30-day ‘grace period.’” Cohen v.


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Empire Blue Cross & Blue Shield, 142 F.3d 116, 118 (2d Cir.1998) (per curiam).

       Balkman’s notice of appeal was to be filed within a 30-day period, measured from the

entry of judgment (July 23, 2010). Balkman’s “Motion for Enlargement of Time” was filed on

August 17, 2010, within the 30-day period applicable under Rule 4(a). Therefore, his motion for

an enlargement of time to file a notice of appeal was timely, and this Court has jurisdiction to

consider his motion.

       Fed. R. App. P. 4(A)(5)(ii) requires that a movant show excusable neglect or good cause

why such a motion should be granted. Given the circumstances discussed above in regard to

Balkman’s having been belatedly served with a copy of respondent’s Answer, the Court finds

good cause to grant his motion for an enlargement of time to file a notice of appeal.

       Based upon this Court’s review, Balkman’s motion to strike respondent’s answer

(Docket #11) is DENIED. Balkman’s Motion for Enlargement of Time to Respond to

Order (Docket #12) is GRANTED. The petitioner’s time to file a notice of appeal is

extended ten (10) days from the date of this Order. See Cohen, 142 F .3d at 118. The Court

notes, however, that because this Court has denied a certificate of appealability, any notice of

appeal filed by Balkman will be treated as an application to the Court of Appeals to grant a

certificate of appealability. See Fed. R.App. Pro. 22(b)(2); Smith v. Duncan, 411 F.3d 340, 346

(2d Cir.2005). Furthermore, Balkman is advised that as set forth in Fed. R. App. P. 3(c),

“Contents of the Notice of Appeal,” (1) [t]he notice of appeal must: (A) specify the party or

parties taking the appeal by naming each one in the caption or body of the notice . . . ; (B)

designate the judgment, order, or part thereof being appealed; and (C) name the court to

which the appeal is taken. Fed. R. App. P. 3(c)(1).


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      ALL OF THE ABOVE IS SO ORDERED.

                                                 /s/ Victor E. Bianchini

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                                                 VICTOR E. BIANCHINI
                                               United States Magistrate Judge
Dated: September 1, 2010
       Rochester, New York




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